     Fill in this information to identify the case:
     Debtor 1
                            BOBBI DeHASS BRUMBAUGH aka BOBBI J BREON
     Debtor 2
                            MATTHEW J. BRUMBAUGH
     (Spouse, if filing)

     United States Bankruptcy Court for the:        MIDDLE                           District of PA
                                                                                               (State)
     Case Number                4:18-00228 RNO




     Official Form 410S1
     Notice of Mortgage Payment Change                                                                                                                           12/15


     If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
     debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
     as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

     Name of creditor:              PENNYMAC LOAN SERVICES, LLC                                 Court claim no. (if known):         13

     Last 4 digits of any number you use to                                                     Date of payment change: 04/01/2020
     identify the debtor’s account:                          2681                               Must be at least 21 days after date
                                                                                                of this notice


                                                                                                New total payment:
                                                                                                Principal, interest, and escrow, if any              $950.38



Part 1:               Escrow Account Payment Adjustment

1.      Will there be a change in the debtor’s escrow account payment?

                  No
                  Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                       the basis for the change. If a statement is not attached, explain why:


                           Current escrow payment:     $319.56                                New escrow payment: $313.46


Part 2:              Mortgage Payment Adjustment

2.      Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor’s variable-rate account?

                  No
                  Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                       Attached, explain why:


                           Current interest rate:                     %                       New interest rate:                               %

                           Current principal and interest payment:                            New principal and interest payment:


Part 3:               Other Payment Change

3.      Will there be a change in the debtor’s mortgage payment for a reason not listed above?

                  No
                  Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                       (Court approval may be required before the payment change can take effect.)

                           Reason for change:

                           Current mortgage payment:                                          New mortgage payment:




     Official Form 410S1                                                Notice of Mortgage Payment Change                                                          page 1

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Debtor 1        BOBBI DeHASS BRUMBAUGH aka BOBBI J BREON                        Case Number (if known) 4:18-00228 RNO
                MATTHEW J. BRUMBAUGH




Part 4:         Sign Here


The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone
number.

Check the appropriate box.

         I am the creditor.

         I am the creditor’s authorized agent.


I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
information, and reasonable belief.



X /s/ Jerome Blank, Esquire                                                                    Date     February 24, 2020
   Signature


Print:                Jerome Blank, Esq., Id. No.49736                                          Title   Attorney
                    First Name            Middle Name              Last Name




Company               Phelan Hallinan Diamond & Jones, LLP


Address               1617 JFK Boulevard, Suite 1400


                      Philadelphia, PA 19103

                                                                                                        jerome.blank@phelanhallinan.c
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  Official Form 410S1                                      Notice of Mortgage Payment Change                                            page 2
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